Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main

Document Page1of9
Revised 12/1/2009 LBR Appendix 100 0-6 F
we: Bang SLED
CAST MARU TA,
UNITED STATES BANKRUPTCY COURT 2 — "STA “UUR
EASTERN DISTRICT OF TEXAS C23 May Py UF Tx
CL ER 12s 5
IN RE: Kus ¢ Nin 7
By COURT PUP Tey
Charles Muszynski 23-90112 tp pe
Debtor(s) Bankruptcy Case Number Pur ¥
VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereb
the best of my knowledge.

Date: VS, S. ‘Sfp 3

y verifies that the attached list of creditors is true and correct to

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main

Document Page 2 of9

Creditors
1. MILLENNIUM FUNDING, INC. is a Nevada corporation with

its principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV
89701,

2. HUNTER KILLER PRODUCTIONS, INC. is a Nevada corporation
with its principal place of business at 318 N. Carson Street, Ste 208, Carson City,

NV 89701.

3. VOLTAGE HOLDINGS, LLC is a Nevada limited liability company
with its principal place of business at 116 N. Robertson Blvd, Suite 200, Los Angeles,
CA 90048,

4, EVE NEVADA, LLC is a Nevada limited liability company with its
principal place of business at 116 N. Robertson Blvd, Suite 200, Los Angeles, CA
90048.

5. BODYGUARD PRODUCTIONS, INC. is a Nevada corporation with
its principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV
89701.

6. KILLING LINK DISTRIBUTION, LLC is a California limited
liability company with its principal place of business at 9190 Olympic Blvd. Suite
400, Beverly Hills, CA 90212.

7. LHF PRODUCTIONS, INC. is a Nevada corporation with its
principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

8. RAMBO V PRODUCTIONS, INC. is a Nevada corporation with its

principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main

Document Page 3of9

9, WONDER ONE, LLC is a Wyoming limited liability company with
its principal place of business at 4164 Weslin Ave. Sherman Oaks, CA 91423.

10. DEFINITION DELAWARE, LLC is’ a Delaware limited liability
company with its principal place of business at 251 Little Falls Drive Wilmington,
DE 19808.

11. MILLENNIUM IP, INC. is a Nevada corporation with its principal
place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

12. NIKOLA PRODUCTIONS, INC. is a Nevada corporation with its
principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

13. OUTPOST PRODUCTIONS, INC. is a Nevada corporation with its

principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

14. 211 PRODUCTIONS, INC. is a Nevada corporation with its
principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV
89701.

15. DAY OF THE DEAD PRODUCTIONS, INC. is a Nevada
corporation with its principal place of business at 318 N. Carson Street, Ste 208,
Carson City, NV 39701.

16. VENICE PI, LLC is a California limited liability company with
its principal place of business at 116 N Robertson Blvd Ste #200, Los Angeles, CA
90048.

17. 1AM WRATH PRODUCTIONS, INC. is a California corporation
with its principal place of business at 1901 Ave of the Stars Suite 1050, Los

Angeles, CA 90067.

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main
Document Page 4of9

18. BADHOUSE STUDIOS, LLC is a Wyoming limited liability
company with its principal place of business at 8265 Sunset Blvd., Suite 107, West
Hollywood, CA 90046.

19. YAR PRODUCTIONS, INC. is a New York corporation with its
principal place of business at 9 Acer Ct. Monsey, New York, 10952.

20. AMBI DISTRIBUTION CORP. is a Delaware corporation with
its principal place of business at 3415 S. Sepulveda Blvd., 11th Fl. Los Angeles,
California 90034.

21. AFTER PRODUCTIONS, LLC is a Delaware limited liability
company with its principal place of business at 1209 Orange Street Wilmington, DE
19801.

22. AFTER II MOVIE, LLC, is a Nevada limited liability company with
its principal place of business at 500 N. Rainbow Road, Suite 300 A, Las Vegas,
NV, 89107.

23. MORGAN CREEK PRODUCTIONS, INC. is a Maryland
corporation with its principal place of business at 32 Loockerman Square, #L-100
Dover, DE 19901.

24. BEDEVILED LLC is a Califomia limited lability company with
its principal place of business at 18823 Belshire Ave Cerritos, CA 90703.

25. | MILLENNIUM MEDIA, INC. is a Nevada corporation with its principal
place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

26. COLOSSAL MOVIE PRODUCTIONS, LLC is a California limited
liability company with its principal place of business at 127 Broadway, Suite 220,

Santa Monica, CA 90401.

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main
Document Page5of9

27. FSMQ FILM, LLC is a California limited liability company with its
principal place of business at 9107 Wilshire Blvd. Ste 600 Beverly Hills, CA 90210.

28. FW PRODUCTIONS, LLC is a California limited liability company |
with its principal place of business at 9454 Wilshire Blvd., Suite M-16 Beverly Hills,
CA 90212.

29. LF2 PRODUCTIONS, INC. is a Nevada corporation with its principal
place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701.

30. RUPTURE CAL, INC. is a California limited liability company with

its principal place of business at 9454 Wilshire Blvd., Suite M-16 Beverly Hills, CA

90212.

31. MON, LLC is a California limited liability company with its principal
place of business at 215 1/2 Arnaz Drive Beverly Hills, CA 90211.

32. SF FILM, LLC is a New York limited liability company with its
principal place of business at 90 State Street Ste 700, Office 40 Albany, New York
12207. |

33. SPEED KILLS PRODUCTIONS, INC. is a Wyoming corporation
with its principal place of business at 8265 Sunset Blvd., Suite 107 West Hollywood, !
CA 90046.

34. MILLENNIUM SPVH, INC. is a Nevada corporation with its
principal place of business at 318 N. Carson Street, Ste 208, Carson City, NV 89701,

35. HANNIBAL CLASSICS INC. is a California corporation with its
princtpal place of business at 8033 Sunset Blvd Suite 1066 West Hollywood, CA

90046.

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main

Document Page 6 of9

36. JUSTICE EVERYWHERE PRODUCTIONS LLC is a Georgia limited
liability company with its principal place of business at 1901 Ave of the Stars,

Suite 1050, Los Angeles, CA, 90067.

37. STATE OF THE UNION DISTRIBUTION AND COLLECTIONS, LLC
is a California limited liability company with its principal place of business at 800 W.
6th Street, Suite 380, Los Angeles, CA 90017.

38. PARADOX STUDIOS, LLC is a Delaware limited liability company
with its principal place of business at 919 North Market Street, Suite 950
Wilmington, DE 19801.

39. DALLAS BUYERS CLUB, LLC is a Texas limited liability company
with its principal place of business at 7 Switchbud Pl, Ste 192, The Woodlands, TX

77380.

40. SCREEN MEDIA VENTURES, LLC is a Delaware limited liability
company with its principal place of business at 800 Third Ave., 3rd Floor, New York,

NY 10022.

41. 42 VENTURES, LLC is a limited liability company organized under
the laws of Hawaii and having its principal place of business at 75-5915 Walua Rd.,

Kailua Kona, Hawaii, 96740.

42. KERRY STEVEN CULPEPPER, individually located at 75-5915

Walua Rd., Kailua Kona, Hawaii, 96740.

43. CULPEPPERIP, LLC is a limited liability legal company organized
under the laws of Hawaii and having its principal place of business at 75-5915 Walua

Rd., Kailua Kona, Hawaii, 96740.

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main
Document Page 7 of9

44, JOEL B. ROTHMAN, individually located at 21301 Powerline Road,

#100, Boca Raton, Florida, 33433.

45. SRIPLAW, P.A., is a legal professional association organized under
the laws of Florida and having its principal place of business at 2130] Powerline

Road, #100, Boca Raton, Florida, 33433.

Document Page 8 of9

ADDITIONAL CREDITORS ADDED AS OF 19 MAY 2023

46, JAN DASH, c/o Grant Thornton, 33 Calle Boliva, Ste 400, San Juan,

PR 00917

47. GRANT THORNTON, 33 Calle Boliva, Ste 400, San Juan, PR

00917

48.  F.A. HAYEK IRREVOCABLE SETTLEMENT TRUST, 33 Calle

Boliva, Ste 400, San Juan, PR 00917

49. SOUTHPAC TRUST LIMITED, ANZ House, PO Box 11, Avarua

Rarotonga, Cook Islands

50. SOUTHPAC TRUST NEVIS LIMITED, Hunkins Plaza,

Charlestown, Nevis

51. JENEMI ASSOCIATES, INC., 2295 S Hiawassee Rd., #411,

Orlando, FL 32835
52. ROBERT POLA, 2295 5S. Hiawassee Rd., #411, Orlando, FL 32835
53. BREADWARE, 466 8. Skylane Dr, Durango, CO 81303
54. STUIDORED, 4019 Transport St, Palo Alto, CA, 94303

55. GLO-JET, c/o Allan Rivera, Esq., Capital Center Bldg., #401, 239

Arterial Hotos Avenue, Hato Rey, Puerto Rico, 00918

56. GLO-JET INTERNATIONAL, c/o Allan Rivera, Esq., Capital

Center Bldg., #401, 239 Arterial Hotos Avenue, Hato Rey, Puerto Rico, 00918

57. ANDY KEESEE, c/o Allan Rivera, Esq., Capital Center Bldg.,

Case 23-90112 Doci15 Filed 05/30/23 Entered 05/30/23 13:10:26 Desc Main
Document Page 9 of9

#401, 239 Arterial Hotos Avenue, Hato Rey, Puerto Rico, 00918

58. ANDREW KEESEE, c/o Allan Rivera, Esg., Capital Center Bldg.,

#401, 239 Arterial Hotos Avenue, Hato Rey, Puerto Rico, 00918.

59, 1701 MANAGEMENT, LLC, 151 Calle San Francisco, San Juan,

PR 00901

60. JP MORGAN CHASE, Chase Card Services, 201 North Walnut

Street, Del-0153, Wilmington, DE 19801

